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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN

        INDEX OF EXHIBITS TO REPLY OF PLAINTIFF TO
      DEFENDANTS' RESPONSE TO PLAINTIFF'S MOTION FOR
                 PRELIMINARY INJUNCTION

 Exhibit     Description

 41          Second Declaration of Andrew Chadderdon

 42          Declaration of Angela McArdle

 43          Second Declaration of Caryn Ann Harlos

 44          Decision of the Judicial Committee of the National Libertarian

             Party in the case of McVay v. LNC and Hinds v. LNC dated

             February 13, 2022

 45          Answer and Affirmative Defenses of Andrew Chadderdon in Case

             No. 23-557-CB Washtenaw County Circuit Court, State of

             Michigan

 46          Initial Disclosures of Andrew Chadderdon in Case No. 23-557-CB

             Washtenaw County Circuit Court, State of Michigan

 47          Parliamentary opinion of Jonathan M. Jacobs dated November 29,

             2022, with supplement dated December 23, 2022

 48          LARA print-out from April 28, 2023

 49          LARA print-out from June 22, 2023




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 Exhibit     Description

 50          Parliamentary opinion of Jonathan M. Jacobs dated July 17, 2023,

             with attached referenced articles from the National

             Parliamentarian

 51          Meeting minutes of the LPMEC meeting via Zoom January 6, 2023

 52          Emails regarding petition for special convention dated January 3-4,

             2023

 53          Email from Josh Martin dated December 21, 2022

 54          LPM Communications Policy

 55          Email from the illegitimate board dated June 7, 2023

 56          Email from Defendant Saliba dated June 15, 2023

 57          Facebook post evidencing member confusion

 58          Email from Defendant Saliba dated June 16, 2023

 59          Bylaws of illegitimate group amended April 1, 2023

 60          LNC Email Ballot 20230601-02

 61          Minutes of the LNC Executive Committee dated February 5, 2023

 62          Emails between LNC Secretary Harlos and Defendant Saliba dated

             March 6, 2023

 63          Exhibit 63, Email from national Judicial Committee Chair

             confirming no appeals received for state-level affiliate



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 Exhibit     Description

 64          Page from LNC Policy Manual on acceptable use of trademarks

 65          Selection from NLP Membership Report dated February 2023

 66          Screenshot of Google search results for "Libertarian Party of

             Michigan"

 67          Submission of Andrew Chadderdon to the Michigan Judicial

             Committee

 68          Draft meeting minutes of the LPMEC meeting via Zoom February

             26, 2023




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